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           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                 NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
        Plaintiffs,                                  MEMORANDUM DECISION AND
                                                     ORDER DENYING DEFENDANTS’
                                                     MOTION FOR
                                                     RECONSIDERATION OF ORDERS
                                                     IN LIMINE


                vs.


 RANDY L. HAUGEN, et al,                             Case No. 1:95-CV-94 TS
        Defendants.




       This matter is before the Court on Defendants’ Motion for Reconsideration of Orders

in Limine on the following grounds: a brief statement in the testimony of one witness taints

the record with false evidence; a statement in the testimony of an expert witness that the

rumor can have long-lasting effect makes it necessary to allow testimony on the rumor’s

spread prior to 1995; and the record is tainted with incomplete and misleading evidence.

Plaintiffs contend that the testimony at issue was generally elicited by Defendants and that

the exhibit was introduced by Defendants.



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       Although the Court retains “discretion to revise interlocutory orders prior to entry of

final judgment,”1 doctrines of judicial economy and law of the law case require that

reconsideration be limited to situations where the Court “misapprehended the facts, a

party's position, or the controlling law.”2

       Defendants contend that the testimony and exhibits they cite are new circumstances

that require reconsideration of the Court’s prior rulings excluding some rumor-related

evidence. The Court does not agree. The Court finds that Defendants’ counsel largely

elicited the testimony at issue. The Court also finds that the testimony at issue is not

clearly outside the Court’s rulings. As the Court has consistently ruled on these issues,

some testimony on the issues is allowable within the parameters set by the prior rulings.

The brief testimony at issue is not outside those general parameters.

       The Court further notes that Defendants have spent a significant amount of their trial

time in pushing the edges of those parameters with the result that they elicited the very

testimony about which they now complain. Defendants choice of this litigation strategy is

not grounds to reconsider the Court’s prior rulings. The Court persists in its prior rulings

for the very reasons that it originally excluded the evidence–irrelevance, potential for

confusion, and prejudice.3

       1
           Price v. Philpot, 420 F.3d 1158, 1167 n. 9 (10th Cir. 2005).
       2
       Docket No. 1094, March 5, 2007 Memorandum Decision and Order Denying
Oral Motion to Reconsider, at *2 (quoting Servants of Paraclete v. Does, 204 F.3d
1005, 1012 (10th Cir. 2000) (citing Van Skiver v. United States, 952 F.2d 1241, 1243
(10th Cir. 1991) (other citations omitted)).
       3
        Docket No. 1079, March 2, 2007 Memorandum Decision and Order on Motions
in Limine, at *2 n.1 (noting that “it is not always P & G that would unfairly prejudiced by

                                               2
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       As to the exhibit, the Court finds that it was offered by Defendants and therefore

cannot form the basis for a ruling that its admission creates a record that is prejudicial to

Defendants. Defendants knew the parameters of the excluded evidence when they offered

the exhibit.

       It is therefore

       ORDERED that Defendants’ Motion for Reconsideration of Orders in Limine (Docket

No. 1118) is DENIED.

       DATED March 13, 2007.

                                          BY THE COURT:


                                          ___________________________________
                                          TED STEWART
                                          United States District Judge




evidence excluded under” ruling).

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